                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                               CIVIL ACTION NO: 1:18-cv-00571


 ISHMAEL LATEEF,

                 Plaintiff,
                                                                     COMPLAINT
           v.
                                                            (JURY TRIAL DEMANDED)
 B.J. BARNES, and
 M.B. STEWART,

                 Defendants.


       Plaintiff, by and through his undersigned counsel, complains against Defendants as

follows:

                                       I. INTRODUCTION

       1.       This is an action brought by Ishmael Lateef, an African-American business owner,

to vindicate the deprivation of his Constitutional rights caused by oppressive police conduct and

official indifference in the face of repeated instances of misconduct. Specifically, a Caucasian

detective from the Guilford County Sheriff’s Office barged into the private offices occupied by

Plaintiff’s business in search of a potential suspect. Plaintiff encountered the detective and asked

his purpose and requested a copy of the search warrant authorizing his presence inside his private

business. The detective refused to provide the search warrant and instead assaulted the Plaintiff.

The detective then pulled his firearm against Plaintiff (who was unarmed) and brandished it in a

threatening manner, was verbally abusive and used his firearm to emphasize his threats. The

detective arrested Plaintiff for charges related to the encounter which Plaintiff was ultimately




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acquitted. This detective had a history of questionable or actual misconduct, did not belong in

contact with citizens, and should not have been in the field at the time of the incident.

                                           II. PARTIES

       2.      Plaintiff, Ishmael Lateef (hereinafter “Plaintiff”), is a citizen and resident of

Guilford County, North Carolina.

       3.      Defendant B.J. Barnes is the duly elected Sheriff of Guilford County, North

Carolina. Defendant Barnes is sued in both his individual and official capacities.

       4.      Defendant M.B. Stewart was, during the relevant time, employed by the Guilford

County Sheriff as a detective. Defendant M.B. Stewart is sued in his individual capacity.

       5.      Defendants have waived government immunity through the purchase of insurance.

                               III. JURISDICTION AND VENUE

       6.      This action arises in part under the Constitution and laws of the United States and

is brought pursuant to 42 U.S.C. §§ 1983 and 1988. This action also arises in part under the United

States Constitution, the North Carolina Constitution and the common law of the State of North

Carolina.

       7.      This court has jurisdiction over the state law claims pursuant to N.C. Gen. Stat. §§

7A-240 and 7A-243. This court also has concurrent jurisdiction over the federal claims. See, e.g.,

Haywood v. Drown, 556 U.S. 729, 731 (2009).

       8.      Venue is proper in Guilford County pursuant to N.C. Gen. Stat. § 1-77 because the

causes of action alleged in this Complaint arose in Guilford County.




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                                 IV. FACTUAL ALLEGATIONS

         9.    Innovation Station LLC is a marketing firm with its principal place of business in

Greensboro, North Carolina. Plaintiff is the firm’s sole member and serves as its Chief Executive

Officer.

         10.   During the relevant timeframe, Plaintiff’s offices were located within an office

complex at 3107 S. Elm-Eugene Street in Greensboro. The offices are private and not set up for

public or walk-in access.

         11.   Innovation Station was involved in direct marketing of AT&T services. Its business

model relied upon its marketing executives and/or salesman by going from door to door to contact

existing AT&T customers regarding potential upgrades or additional services.

         12.   Jeffrey Taylor Klutz was employed by Innovation Station as a junior marketing

executive. In August 2016, while Mr. Klutz was pursuing sales leads, two deputies from the

Guilford County Sheriff’s Office stopped him and told him that they were investigating a break-

in. They asked for ID, and asked to search Mr. Klutz’s person and car, and he agreed. After the

search, they told Mr. Klutz that he was free to go. Mr. Klutz continued working, calling on his

leads.

         13.   Approximately three days later, Defendant Stewart arrived unannounced at

Innovation Station’s offices and asked to speak to Plaintiff. Plaintiff escorted Defendant Stewart

into his office and closed the door.

         14.   Defendant Stewart informed Plaintiff that the police had a video of Mr. Klutz and

two other employees, Malcom Duckett and Jihad Lateef, and that Stewart needed to speak to all

three of them, who were on the premises for work.




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       15.       Plaintiff agreed to make all three employees available to Deputy Stewart, but then

the questioning was only addressed to Mr. Klutz. Mr. Lateef challenged Deputy Stewart’s

allegations because those three employees did not go out in the field with one another. Mr. Lateef

also questioned that if he had Mr. Klutz on camera as he stated, why was he not being arrested.

Deputy Stewart then told Mr. Lateef that he needed to keep quiet and quit asking questions.

       16.       When Defendant Stewart began questioning Mr. Klutz, the questions did not relate

to the information the deputy had given Plaintiff when he asked permission to speak with Mr.

Klutz on company time. Therefore, Mr. Klutz and Plaintiff agreed that unless Mr. Klutz was under

arrest the conversation on company time was over. Deputy Stewart asked for Mr. Klutz’s address

and Mr. Lateef gave him the work address. Deputy Stewart did not like the response and

threatened to call AT&T and let them know that Mr. Lateef had thieves working for him selling

their product.

       17.       After Defendant Stewart interviewed Mr. Klutz at Innovation Station’s offices on

or around August 30, 2016, two deputies, one being Defendant Stewart, approached Mr. Klutz in

the field while he was working for Innovation Station. The deputies asked if they could take him

in for questioning. Because he was working at the time, Mr. Klutz called Plaintiff to inform him

of the situation. Although the deputies informed Mr. Klutz that he was not under arrest, they then

proceeded to follow him while he was attempting to complete his sales appointments. Because he

could not complete any sales calls with the deputies in tow, Mr. Klutz was going to be forced to

return to the office. The officers finally quit following Mr. Klutz, and he was able to continue with

his appointments.




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       18.     On September 2, 2016, Defendant Stewart entered Innovation Station’s corporate

offices unannounced stating that he needed to speak with Taylor. Mr. Lateef heard Deputy Stewart

come in the office and stepped out to greet him.

       19.     Defendant Stewart demanded to see Mr. Klutz. Plaintiff informed the deputy that

Mr. Klutz was in a training meeting and that he would need to come back later. Defendant Stewart

then replied that “it doesn’t work that way, if you don’t go and get him, I will find him myself.”

At that time, Mr. Lateef’s cell phone rang and he answered it. While Mr. Lateef was on the phone,

Defendant Stewart began looking in open doors. At that point, Mr. Lateef moved and stood in the

closed doorway to the training room and repeatedly told the deputy that he needed to leave.

       20.     After Defendant Stewart refused to leave, Plaintiff asked Stewart if he had a warrant

and to let him see it. Plaintiff stood his ground in the doorway and again asked to see the warrant.

Defendant Stewart pulled out his phone and waved the phone at Plaintiff and then began to shout

and tell Plaintiff to move aside from his own office door.

       21.     Defendant Stewart then told Plaintiff to move or he would move him. Again,

Plaintiff asked for the warrant to enter his premises. Stewart then attacked Plaintiff, picking him

up and slamming him into the wall adjacent to the doorway hitting him the right rib, right jaw, and

twice in the head and shoulder area. Plaintiff did not return the blows, but attempted to get away

from the pummeling and yelled for help, while getting hit from behind.

       22.     Plaintiff’s sales staff responded to his calls for help, shouting at Defendant Stewart

to stop and began filming the attack with their cell phones. In response to being filmed, Defendant

Stewart drew his handgun and pointed at the employees and Plaintiff, and threatened to shoot

anyone that moved.




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         23.    Deputy Stewart kept repeating that Plaintiff was under arrest, and when asked why,

responded that it was for “interfering with his investigation.”

         24.    Moments later, while holding the employees of Innovation Station at gun point,

around a dozen officers flooded into the offices. Plaintiff and Mr. Klutz were removed from the

building and taken to jail.

         25.    While removing Plaintiff and Mr. Klutz from the offices, officers physically barred

the doors to prevent Innovation Station employees from leaving the building to witness the

remainder of the arrests (and to prevent them from continuing to film potential police misconduct).

         26.    While being held at the Guilford County Detention Center, the deputies informed

Plaintiff that he was being charged with interfering with an arrest and assault of a police officer.

Plaintiff informed the deputies that those charges were incorrect, as Defendant Stewart assaulted

Plaintiff because he would not acquiesce to Stewart’s unlawful demand to be allowed into

Plaintiff’s place of business.

         27.    Plaintiff was taken to the hospital and examined, and his injuries were

photographed.

         28.    The Sheriff’s Office later issued a press release stating that Plaintiff had assaulted

Defendant Stewart and that Defendant Stewart had sustained injuries. These statements were not

true.

         29.    Plaintiff was eventually found not guilty of the charges against him and the charges

against Mr. Klutz were dropped.

                                    V. CLAIMS FOR RELIEF

                                 FOR A FIRST CAUSE OF ACTION
        42 U.S.C. § 1983 – Arrest without Probable Cause in Violation of the Fourth and
                                   Fourteenth Amendments
                      (Against Defendant Stewart in his Individual Capacity)

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          30.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          31.   Plaintiff was arrested without a warrant and charged with the assault of Defendant

Stewart when, in fact, no assault of Defendant Stewart occurred. Rather, Plaintiff did no more than

reflexively attempt to shield himself from Defendant Stewart’s unlawful attack. Defendant Stewart

fabricated this charge in a post-hoc attempt to legitimize his unlawful actions.

          32.   Plaintiff was also charged with unlawfully resisting, delaying, or obstructing

Defendant Stewart in his attempt to effect the arrest of Mr. Klutz. However, there was no unlawful

action by Plaintiff because Plaintiff was within his rights to refuse admittance to his private offices.

          33.   Defendant Stewart had no warrant in his possession that would have justified his

forced entry into the Plaintiff’s private offices. At most, an arrest warrant existed (but was not

brought along by Defendant Stewart) for Mr. Klutz, which provided no authority to invade

Plaintiff’s private offices. In any event, the arrest warrant regarding Mr. Klutz was ruled to be

invalid by the court for want of probable cause—further undermining Defendant Stewart’s

purported justification for forcing entry into Plaintiff’s private offices.

          34.   Because no assault occurred, and because Plaintiff was within his rights in refusing

Defendant Stewart admittance, probable cause was lacking for Plaintiff’s arrest. Thus, Plaintiff’s

arrest was in violation of the Fourth Amendment’s prohibition against unreasonable seizures.

          35.   This was compounded when Defendant Stewart not only continued the prosecution

without probable cause, but added an additional fabricated charge in an effort to justify his actions.

This is a distinct violation of the Fourth and Fourteenth Amendments.




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          36.   No reasonable police officer in Defendant Stewart’s position could have believed

that an invalid arrest warrant for a third party would have provided authority for him to force entry

into the private offices of another person without a valid search warrant.

          37.   Because of Defendant Stewart’s unlawful actions described above, Plaintiff has

endured humiliation, embarrassment, and mental anguish. Plaintiff has also incurred the costs of

mounting a criminal defense against unwarranted charges. Further, Plaintiff lost business income

and has had his company’s goodwill impaired. In consequence, Plaintiff is entitled to

compensatory and punitive damages and attorneys’ fees and costs.

                              FOR A SECOND CAUSE OF ACTION
42 U.S.C. § 1983 – Excessive Force in Violation of the Fourth and Fourteenth Amendments
                   (Against Defendant Stewart in his Individual Capacity)

          38.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          39.   Defendant Stewart threw Plaintiff against the wall and struck him about the

face/head and body multiple times for no reason other than that Plaintiff dared to request of copy

of a valid search warrant to enter his private business premises.

          40.   Defendant Stewart then pulled his firearm against Plaintiff and used it to threaten

Plaintiff to “come here!”

          41.   Plaintiff was not guilty of any crime at the time the beating commenced and when

Defendant Stewart pulled his firearm, and was not unlawfully impeding any action by Defendant

Stewart. Plaintiff was unarmed and was not a threat to Defendant Stewart, who is physically much

larger than Plaintiff.

          42.   Defendant Stewart’s actions in employing force against Plaintiff were entirely

gratuitous and unnecessary—and thus excessive under the Fourth and Fourteenth Amendments.


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Furthermore, as a tenant with the exclusive right of entry upon his premises, Plaintiff’s request for

a search warrant was reasonable.

          43.   Because of the excessive nature of the force used, Plaintiff endured pain and

suffering, and was forced to seek medical treatment. In consequence, Plaintiff is entitled to

compensatory and punitive damages and attorneys’ fees and costs.

                               FOR A THIRD CAUSE OF ACTION
    42 U.S.C. § 1983 – Unreasonable Search in Violation of the Fourth and Fourteenth
                                      Amendments
                   (Against Defendant Stewart in his Individual Capacity)

          44.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          45.   On at least two occasions, Defendant Stewart entered Plaintiff’s private place of

business without a search warrant, consent, or any exigent circumstances. The first instance is

found in Defendant Stewart’s police report, where he indicates he went into the offices on 8/31/16

in search of Mr. Klutz, “but no one was at the business.” Because no one was present, Plaintiff

cannot be certain of the scope of the search by Defendant Stewart on this visit.

          46.   The second instance was the search that ended with Plaintiff’s arrest. As alleged

above, Defendant Stewart did not have a search warrant, consent, or any exigent circumstances for

forcing his way into Plaintiff’s private offices to search for Mr. Klutz.

          47.   These two searches constitute separate unreasonable searches under the Fourth and

Fourteenth Amendments.

          48.   Based on the unreasonable searches, Plaintiff is entitled to compensatory and

punitive damages and attorneys’ fees and costs.




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                             FOR A FOURTH CAUSE OF ACTION
42 U.S.C. § 1983 – Retaliatory Arrest in Violation of the First and Fourteenth Amendments
                    (Against Defendant Stewart in his Individual Capacity)

          49.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          50.   During each of his interactions with Defendant Stewart, Plaintiff displayed and

voiced a knowledge of his rights and declared an intent to assert those rights.

          51.   Plaintiff exercised his constitutionally protected right to question law enforcement

and/or engaged in protected speech related to the constitutional rights of citizens with respect to

searches of their property by the police and objectionable police conduct.

          52.   Defendant Stewart arrested Plaintiff in retaliation for exercising his right to refuse

an unlawful search or otherwise question unlawful police conduct. Because of Defendant Stewart’s

unlawful actions described above, Plaintiff has endured humiliation, embarrassment, and mental

anguish. Plaintiff has also incurred the costs of mounting a criminal defense against unwarranted

charges. Further, Plaintiff lost business income and has had his company’s goodwill impaired. In

consequence, Plaintiff is entitled to compensatory and punitive damages and attorneys’ fees and

costs.

                               FOR A FIFTH CAUSE OF ACTION
              42 U.S.C. § 1983 – Deliberately Indifferent Policies, Practices,
  Customs, Hiring, and Training in violation of the Fourth and Fourteenth Amendments
             (Monell Claim Against Defendant Barnes in his Official Capacity)

          53.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          54.   Defendant Barnes is the policymaker responsible for establishing, enforcing,

directing, and controlling the policies, customs, practices, and procedures relative to law

enforcement within Guilford County.

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       55.     Prior to the events described in this Complaint, and during his tenure with the

Guilford County Sheriff’s Office, Defendant Stewart has been involved in at least twelve (12)

instances of questionable conduct or allegations of misconduct. These include seven (7) instances

involving allegations of excessive force (including one instance where he shot a “dangerous” goat).

These also include at least one instance where Defendant Stewart was accused of posting racist

content on his Facebook page.

       56.     In fact, Defendant Stewart has been previously sued for false arrest and excessive

force while he was acting as a bailiff for Guilford County Sheriff’s Office. Defendant Barnes was

also named in that suit.

       57.     Upon information and belief, Defendant Stewart was terminated or drummed out

from previous law enforcement employment before coming to work for Guilford County Sheriff’s

Office. Also upon information and belief, Defendant Stewart was only assigned as a bailiff as a

disciplinary measure for past misconduct.

       58.     While each of these instances, in isolation, may not have warranted discipline,

Defendant Stewart’s overall history was sufficient to put Defendant Barnes on actual notice of the

need for different or additional training or discipline.

       59.     Despite having actual notice of his past history of misconduct, Defendant Barnes

has deliberately decided not to offer additional or different training or discipline to Defendant

Stewart.

       60.     This decision not to offer additional or different training or discipline to Defendant

Stewart represents an official policy or custom of the Defendant.

       61.     This decision made it inevitable that Defendant Stewart would eventually act as

alleged in this Complaint.



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          62.   Because of Defendant’s unlawful actions described above, Plaintiff has endured

pain and suffering, humiliation, embarrassment, and mental anguish. Plaintiff has also incurred

medical expenses and the costs of mounting a criminal defense against unwarranted charges.

Further, Plaintiff lost business income and has had his company’s goodwill impaired. In

consequence, Plaintiff is entitled to compensatory damages and attorneys’ fees and costs.

                               FOR A SIXTH CAUSE OF ACTION
                            42 U.S.C. § 1983 – Supervisory Liability
                (Against Defendant Barnes in his Individual and Official Capacities)

          63.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          64.   As described above, Defendant Stewart had numerous allegations of misconduct

and excessive force lodged against him prior to the events described in this Complaint.

          65.   Defendant Barnes had actual knowledge of these complaints because he was named

as a co-defendant in a previous lawsuit against Stewart.

          66.   As alleged in the previous cause of action, Defendant Barnes took no action, or no

effective action, to prevent further instances of misconduct by Defendant Stewart.

          67.   Because of Defendants’ unlawful actions described above, Plaintiff has endured

pain and suffering, humiliation, embarrassment, and mental anguish. Plaintiff has also incurred

medical expenses and the costs of mounting a criminal defense against unwarranted charges.

Further, Plaintiff lost business income and has had his company’s goodwill impaired. In

consequence, Plaintiff is entitled to compensatory and punitive damages and attorneys’ fees and

costs.




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                             FOR A SEVENTH CAUSE OF ACTION
                                  False Arrest/Imprisonment
                      (Against Defendant Barnes in his Official Capacity and
                          Defendant Stewart in his Individual Capacity)

          68.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          69.   As alleged with respect to the First Cause of Action above, Defendant Stewart

lacked probable cause to arrest Plaintiff. This constitutes false arrest.

          70.   Because of Defendant Stewart’s unlawful actions described above, Plaintiff has

endured humiliation, embarrassment, and mental anguish. Plaintiff has also incurred the costs of

mounting a criminal defense against unwarranted charges. Further, Plaintiff lost business income

and has had his company’s goodwill impaired. In consequence, Plaintiff is entitled to

compensatory and punitive damages and attorneys’ fees and costs.

                             FOR AN EIGHTH CAUSE OF ACTION
                                    Malicious Prosecution
                      (Against Defendant Barnes in his Official Capacity and
                          Defendant Stewart in his Individual Capacity)

          71.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          72.   As alleged with respect to the First Cause of Action above, Defendant Stewart not

only lacked probable cause to arrest Plaintiff, but added a fabricated charge and continued the

prosecution. Plaintiff was acquitted of the charges. This constitutes malicious prosecution.

          73.   Because of Defendant Stewart’s unlawful actions described above, Plaintiff has

endured humiliation, embarrassment, and mental anguish. Plaintiff has also incurred the costs of

mounting a criminal defense against unwarranted charges. Further, Plaintiff lost business income




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and has had his company’s goodwill impaired. In consequence, Plaintiff is entitled to

compensatory and punitive damages and attorneys’ fees and costs.

                                FOR A NINTH CAUSE OF ACTION
                                             Assault
                       (Against Defendant Barnes in his Official Capacity and
                           Defendant Stewart in his Individual Capacity)

          74.    Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          75.    Defendant Stewart’s actions during the encounter with Plaintiff, including pointing

and presenting a firearm, and striking Plaintiff numerous times were intentional. His actions

created in Plaintiff a reasonable apprehension of immediate harm, and actually caused Plaintiff

physical harm.

          76.    Based on this assault, Plaintiff is entitled to compensatory and punitive damages

and attorneys’ fees and costs.

                               FOR A TENTH CAUSE OF ACTION
                                             Battery
                       (Against Defendant Barnes in his Official Capacity and
                           Defendant Stewart in his Individual Capacity)

          77.    Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          78.    Defendant Stewart’s actions constituted harmful and offensive touching for which

Stewart had no lawful justification.

          79.    Because of this battery, Plaintiff endured pain and suffering, and was forced to seek

medical treatment. In consequence, Plaintiff is entitled to compensatory and punitive damages and

attorneys’ fees and costs.




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                           FOR AN ELEVENTH CAUSE OF ACTION
                                          Defamation
                      (Against Defendant Barnes in his Official Capacity and
                          Defendant Stewart in his Individual Capacity)

          80.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          81.   Defendant Stewart falsely accused Plaintiff, to his employees, of being guilty of a

crime during the course of his arrest.

          82.   In addition, the Sheriff’s Office issued a false press release accusing Plaintiff of

assaulting Defendant Stewart and alleging that Stewart was injured.

          83.   These defamatory statements have caused significant harm to Plaintiff’s business

and reputation in the community. In consequence, Plaintiff is entitled to compensatory and punitive

damages and attorneys’ fees and costs.

                             FOR A TWELFTH CAUSE OF ACTION
                                            Trespass
                      (Against Defendant Stewart in his Individual Capacity)

          84.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          85.   Defendant Stewart had no valid search warrant, in fact, no search warrant at all, at

the time that he entered the private business premises of the Plaintiff.

          86.   Plaintiff, having leased the premises, is entitled to the right of exclusive possession

and control over the premises.

          87.   Defendant Stewart was not authorized to be on the premises and was not invited

into the premises or otherwise given permission to be inside the premises/offices/building.

          88.   Defendant Stewart knew or reasonably should have known that he did not possess

authority to be on the premises of Plaintiff’s private business.

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          89.   Defendant Stewart’s actions amount to a trespass in violation of Plaintiff’s rights

and Plaintiff has been damaged as a result of the trespass as will be proven at trial.

                           FOR A THIRTEENTH CAUSE OF ACTION
                                         (Negligence)
   (Against Defendant Barnes in his Official Capacity and Defendant Stewart in his Individual
                                           Capacity)

          90.   Plaintiff reiterates and realleges each and every paragraph above as if set forth fully

herein.

          91.   Defendants Barnes and Stewart owed Plaintiff a duty of care to perform the duties

of their respective commands in a manner that would not, directly or indirectly, unlawfully assault,

batter, harm, oppression, defame, harass, and otherwise subject Plaintiff to the conduct alleged in

this Complaint.

          92.   Defendants Barnes and Stewart breach their duties to Plaintiff as alleged within this

Complaint.

          93.   Defendants’ breach proximately caused Plaintiff to be harmed.

          94.   The harms suffered by Plaintiff include but are not limited to physical injuries,

damage to his reputation and the reputation of his various businesses, and lost profits.

          95.   Plaintiff is entitled to recover these damages as will be proven and recovered at

trial.




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       WHEREFORE, Plaintiff prays for judgment in his favor for compensatory and punitive

damages, for attorneys’ fees and costs, and for such other relief as the court deems just and proper.




                                      Respectfully submitted,

                                      /s/ Stanley B. Green
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June 29, 2018




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